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            Case 1:20-mj-02379-TMD Document 3 Filed 10/08/20 Page 2 of 17

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FRXQWHUSUROLIHUDWLRQLOOHJDOH[SRUWDWLRQVF\EHUFULPHVDQGFULPHVDJDLQVWFKLOGUHQWRLQFOXGH

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               Case 1:20-mj-02379-TMD Document 3 Filed 10/08/20 Page 3 of 17

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RWKHUV,DPDZDUHRIWKHIROORZLQJ

                 ,QWHUQHW3URWRFRO$GGUHVV$Q,QWHUQHW3URWRFRODGGUHVV ,3DGGUHVV LVDXQLTXH

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SURSHUO\URXWHWUDIILFWRHDFKRWKHU7KHDVVLJQPHQWRI,3DGGUHVVHVWRFRPSXWHUVFRQQHFWHGWR

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                 'RPDLQ1DPH$GRPDLQQDPHLVDVLPSOHHDV\WRUHPHPEHUZD\IRUKXPDQV

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FKDUDFWHUV WKDWFRUUHVSRQGZLWKDSDUWLFXODU,3DGGUHVV)RUH[DPSOH³XVGRMJRY´DQG

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             5HJLVWU\ )RUHDFKWRSOHYHOGRPDLQ VXFKDV³FRP´ WKHUHLVDVLQJOHFRPSDQ\

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            2QRUDERXW$XJXVWGXULQJ DQRQJRLQJSURDFWLYHRSHUDWLRQWDUJHWLQJ

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FRPSDQ\ORFDWHGLQ&DOLIRUQLDZKLFKVSHFLDOL]HVLQHTXLSPHQWOHDVLQJILQDQFLQJZRUNLQJ

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            2QRUDERXW$XJXVW&FRQWDFWHGWKH9LFH3UHVLGHQW IRU 3RUWIROLR

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EXVLQHVVQDPHRUORJRVRXWVLGHRI WKHLUFRQWURO DQGVSHFLILFDOO\UHTXHVWHGWKHGRPDLQQDPHEH

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DERYHVXFKDVHPDLORUDEXVLQHVVDGGUHVV)XUWKHUPRUHWKHUHDUHQRRWKHUOLQNVVXFKDV³$ERXW

&RQWDFW3ULYDF\3ROLF\DQG7HUPVRI8VH´DVDIHZH[DPSOHVZKLFKDUHW\SLFDOIRUDXWKHQWLF

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FRXUVHRIDFWLRQ

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           Case 1:20-mj-02379-TMD Document 3 Filed 10/08/20 Page 9 of 17

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         Case 1:20-mj-02379-TMD Document 3 Filed 10/08/20 Page 10 of 17

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IROORZLQJWH[W RUVXEVWDQWLDOO\VLPLODUWH[W 

       ³7KHGRPDLQIRU$OOLDQFH)XQGLQJ&RYLGFRP KDVEHHQVHL]HGE\ WKH

       'HSDUWPHQWRI+RPHODQG6HFXULW\ +RPHODQG6HFXULW\,QYHVWLJDWLRQV DQGWKH

       %DOWLPRUH&RXQW\3ROLFH'HSDUWPHQWLQDFFRUGDQFHZLWKDVHL]XUHZDUUDQWLVVXHG

       SXUVXDQWWR86&  DQG E\WKH8QLWHG6WDWHV'LVWULFW&RXUW

       IRUWKH'LVWULFWRI0DU\ODQG DVSDUW RIDODZHQIRUFHPHQWDFWLRQE\WKH8QLWHG

       6WDWHV'HSDUWPHQWRI-XVWLFH´
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,   6HL]XUH3URFHGXUH
     
         $ 7KHVHL]XUHZDUUDQWZLOOEHSUHVHQWHGLQSHUVRQ RUWUDQVPLWWHGYLDIDFVLPLOHRUHPDLOWR
            SHUVRQQHO RI WKH GRPDLQ QDPH UHJLVWU\ OLVWHG LQ6HFWLRQ ,, ³6XEMHFW 5HJLVWU\´  DQG WKH
            GRPDLQ QDPH UHJLVWUDUV EDVHG LQ WKH 8QLWHG 6WDWHV OLVWHG LQ 6HFWLRQ ,,, ³6XEMHFW
            5HJLVWUDUV´ 7KH6XEMHFW5HJLVWU\ZLOOEHGLUHFWHGIRUWKHGRPDLQQDPHVOLVWHGLQ6HFWLRQ
            ,9 ³6XEMHFW'RPDLQ1DPHV´ IRUZKLFKLWVHUYHVDVWKHWRSOHYHOGRPDLQUHJLVWU\WRPDNH
            DQ\FKDQJHVQHFHVVDU\WRUHVWUDLQDQGORFNWKHGRPDLQQDPHSHQGLQJWUDQVIHURIDOOULJKWV
            WLWOHDQGLQWHUHVWLQWKH6XEMHFW'RPDLQ1DPHWRWKH8QLWHG6WDWHVXSRQFRPSOHWLRQRI
            IRUIHLWXUH SURFHHGLQJV

         % 8SRQVHL]XUHRIWKH6XEMHFW'RPDLQ1DPHVWKH6XEMHFW5HJLVWU\ VKDOOSRLQWWKH
            6XEMHFW 'RPDLQ 1DPHV WR WKH ,35 &HQWHU¶V 'RPDLQ 1DPHV QVVHL]HGVHUYHUVFRP ,3
            DGGUHVV   DQG QVVHL]HGVHUYHUVFRP ,3 DGGUHVV   DQG DW
            ZKLFKWKH*RYHUQPHQWZLOOGLVSOD\DZHESDJHZLWKWKHIROORZLQJQRWLFH

                     “The domain for AllianceFunding-Covid19.com has been seized by the Department
                     of Homeland Security - Homeland Security Investigations and the Baltimore
                     County Police Department in accordance with a seizure warrant issued pursuant
                     to 18 U.S.C. §§ 981, 982, and 1030 by the United States District Court for the
                     District of Maryland as part of a law enforcement action by the United States
                     Department of Justice.”
     
         & 8SRQ VHL]XUH RI WKH 6XEMHFW 'RPDLQ 1DPHV WKH 6XEMHFW 5HJLVWU\ ZLOO WDNH DOO VWHSV
            QHFHVVDU\WRUHVWUDLQDQGORFNWKHGRPDLQDWWKHUHJLVWU\OHYHOWRHQVXUHWKDWFKDQJHVWRWKH
            VXEMHFWGRPDLQQDPHVFDQQRWEHPDGHDEVHQWDFRXUWRUGHURULIIRUIHLWHGWRWKH8QLWHG
            6WDWHVJRYHUQPHQWZLWKRXWSULRUFRQVXOWDWLRQZLWKWKH'HSDUWPHQWRI +RPHODQG6HFXULW\

         ' 8SRQVHL]XUHRIWKH6XEMHFW'RPDLQ1DPHVWKH6XEMHFW5HJLVWUDUV EDVHGLQWKH8QLWHG
            6WDWHVVKDOOFRQWDFWWKHUHJLVWUDQWRIWKH6XEMHFW'RPDLQ1DPHDQGSURYLGHWKHPQRWLFHRI
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                              D      1DPH           +RPHODQG6HFXULW\,QYHVWLJDWLRQV
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       9HUL6LJQ,QF
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       5HVWRQ9$

,,,   6XEMHFW5HJLVWUDUVEDVHGLQWKH86

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       6FRWWVGDOH$=

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